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   STATE OF MISSOURI
                                                ss
   CITY OF ST.              LOUIS
                                                                        22HoJUDICIAL
                                                                                   CIRCUIT
                                                                       CIRCUITCLERK'SOFFICE
                                            MISSOURI CIRCUIT COURT    BY_____         DEPUTY
                                         TWENTY-SECONDJUDICIAL CIRCUIT
                                              (City of St. Louis)

   STATE OF MISSOURI,

                      Plaintiff,
                                                                             No.        1622-CR02213-01
                             vs.
                                                                             Division             No.         23
   JASON STOCKLEY,

                      Defendant.

                                                     FINDINGS AND VERDICT

              Defendant,             a St.       Louis          police        officer             at       the       time         of     the

   events       at     issue         here,       has      been        charged             with        first          degree            murder

   and     armed       criminal             action        for      the       shooting             death             of Anthony

   Smith       following             a high          speed       pursuit             on city           streets.

              The Court            has      closely          examined             the      evidence,                 has         viewed        the

   State's        video         exhibits             multiple            times,           has     reviewed                 the

   testimony           of    the      witnesses,                and    has        considered                  the     arguments                of

   the     parties.             In    reaching            a decision                 in    this        case          the         Court        is

   bound       by the        Code        of    Judicial           Conduct,                and     specifically,                        Rule        2-

   2.4,      which       provides             that      "a judge             shall         not        be      swayed         by

   partisan           interests,              public         clamor          or    fear          of    criticism."                       The

   Comment       to      this        Rule      provides,              "A fair,             impartial,                 and

   independent              judiciary            requires             that        judges          decide             cases

   according           to    the      law      and      facts,         without             regard             to    whether




                                                                                                              EXHIBIT A
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       particular                 laws      or     litigants             are        popular             or     unpopular                   with        the

       public,             the     media,         government               officials,                   or     the          judge's             friends
       or   family."

                  Chronologically,                        the      factual               events         at     issue           in        this         case
       occurred              in    2011.          Defendant              was interviewed                           by the           F.B.I.             on
   May 30,                 2012      about        the         events       of       December             20,          2011,         and         the

       criminal             charges          in        this      case      were           brought            in       the     Spring             of

   2016.          1        No federal             criminal             charges             have         been          pursued            by the

   Civil              Rights         Division             of     the     United            States            Department                   of

   Justice.

                  The relevant                   events          began       on December                     20,       2011         when a

   silver               Buick       being         driven          by Anthony                   Smith         pulled           into          a parking

   space              at    a Church's              Fried         Chicken            restaurant.                  2     Mr.         Smith         and        his
   companion,                     Kirkwin         Taylor,           exited           the        vehicle,               leaving             the

   engine               running          and      the         windshield             wipers             operating,                  and         walked

   into           the       restaurant.                  Mr.      Taylor            subsequently                      walked          to        the     rear
   of       the         building           where,             he testified,                    he urinated.                     Mr.        Smith

   returned                 to     the     vehicle             a couple             of     times,            opened           the         door        on
   the       driver's               side         and     reached          in,        and        then         returned               to     the        front
   of       the        restaurant.                 Mr.         Taylor        was walking                     back       to      the        front            of


   1 The complaint     was filed  on May 16, 2016                                        and    the     indictment             was filed              on
  August    8, 2016.
  2 State's
               Exhibit   2, a surveillance     video                                     from     the    restaurant,                was admitted
  into   evidence    and was played     at the trial.

                                                                                2
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   the      restaurant                when         a marked              police          vehicle             drove         by.           The

   police           vehicle           is      then       seen        driving             rapidly             up to         and       stopping

   behind           the     silver            Buick         as     Smith          ran      up to            and    got      into          the
               3
   Buick.             Mr.          Smith       did     not        have        a bag         containing                food          on any            of

   the      occasions               when he returned                        to     the         car.          Two police                  officers

   exited           the     police            vehicle,             Stockley              from         the     passenger's                      side

   and      Brian         Bianchi             from     the         driver's              side,         and        approached                   Mr.

   Smith's           car.      4     Mr.       Smith         rapidly             pulled           forward           up to           the

   building,              then        frantically                  drove          his      Buick        backward              crashing

   into       the     marked              police       vehicle             twice,              before          speeding             away at              a

   high       rate        of       speed.            Mr.     Smith's              Buick         did      not       "gently               strike"

   the    police            vehicle.                 Smith's             Buick          forcefully                struck           the        police

   vehicle           twice,           striking              the     police              vehicle          hard        enough              to     cause

   the    driver's                 side       door     to         slam     shut,           and        also        struck           a red          sedan

   parked           on the          lot       adjacent             to,     and          perpendicular                 to,          the         police

   vehicle.               Smith           struck       the         red     car          hard       enough          that       it         could          be

   seen      to      rock          back       and     forth         on the              surveillance                 video.

             After          completing                a "five             point          turn"         Smith         drove          off         the

   parking           lot,          striking           the        hand      of      Stockley,                 who had          a gun drawn,



   3 Defendant       Stockley     testified                   he observed     a hand to hand transaction     between
   Smith and another          person,       and              Stockley   believed    it to be a drug transaction.
   Stockley     testified      the officers                     decided   they needed    to investigate  the
   suspicious      activity.
   4 Brian    Bianchi      was a relatively                        new police            officer         on December               20,        2011.

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   and      Smith             sped      away.                Bianchi          swung          at     the        driver's              door      of     the

   Buick          with         his      gun,           breaking            the       window,              and     then         as     Smith         sped

   off      the        parking              lot        Bianchi          returned              to        the      police         vehicle             while

   holstering                  his     gun.             Stockley              testified                 that      Bianchi             yelled

   "gun"          at     the         time         Bianchi             broke      the      driver's                window             on the

   Buick,          indicating                     Smith         had     a gun in              the        car,         and      Stockley

   testified                 that      he saw a gun                     in     Smith's             hand         on the          passenger

   seat      of        the      Buick             as    the      Buick         was pulling                     away.           Stockley             fired

   shots          from         his     police                department              issued             Baretta           at    the      Buick         as

   it     sped         off.           Stockley                then      got      into         the        police           vehicle            and      told

   Bianchi             to      "get         him."

             Anthony                 Smith         drove         at     speeds          up to            87 miles              per     hour,          on

   wet      roads,            endangering                     other      drivers              and        pedestrians,                  and      the

   police          pursuit             was         in        response          to     Smith's             perilous              conduct.               The

   pursuit             lasted          for         approximately                     three          (3)        minutes.               The pursuit

   ended       when Smith                    drove            into      oncoming              traffic             and       was bumped                from

   behind          by the             police            vehicle          being          driven            by Brian              Bianchi.               It

   is     apparent              from         the        dash          cam video           recording,                   which          includes

   audio       from           inside             the         police      vehicle,                 that         this     pursuit              was a

   stressful                event          for         the      occupants.                Due to               multiple             radios          being

   turned          on        (Stockley's,                     Bianchi's,              and         the     car         communication

   radio)          there            were         confusing              sounds          including                 feedback             on the



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   radios         and     communications                        with         a police             dispatcher.                  One of            the

   occupants             of    the         police          vehicle             said         on the         radio        multiple

   times,          "shots           fired,          shots         fired."           5     During           the      pursuit          Bianchi

   at      one    point        started              to     turn        right            where       the       Buick       had       turned

   left,         and     Bianchi             also        hit      a sign            and      a tree           and      had     to    back            up

   to      continue           the      pursuit.

             Approximately                       45 seconds             before              the    pursuit             came     to        an end,

   the      audio        contains                a garbled             and         unintelligible                     statement,                in

   the      middle        of        which         Stockley             said,            "we're         killing          this

   motherfucker,                  don't           you      know.       116


             The dash               cam video              from        the         police         vehicle             continued            to        run

   for      a time        after            the      vehicles            came to              a stop.             Smith's            car         came

   to      a stop        perpendicular                     to     and        adjacent             to    the      curb,         when        it        was

   struck         by the          police            vehicle,            and         the      police           vehicle          came to               a

   stop      parallel             to       the      curb        with         its        front      end        adjacent          to        the

   right         rear     of      Smith's            car.             Stockley              testified            it     was decided                      to

   attempt          to    end        the      pursuit             by striking                   Smith's          car      when       Smith

   started          to    drive            head-on             into     oncoming                traffic.




   5  Police  officer   John Baumgartner     testified        that     "shots   fired"   means somebody
   has fired    shots,   either   a suspect   or a police         officer,
   6 The statement     was not intelligible       when the recording            was played    during   the
   trial.    However,    Stockley    did not deny making the statement.                 He testified     he
   could not recall      making the statement        and he could          not recall   the context.
   The context     is not clear    from the recording;          it cannot      be determined      what was
   said immediately      before   and immediately       after     the statement.

                                                                              5
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              After             both            vehicles               came to               a stop,             Bianchi               is        seen        on the

   dash       cam video                    running              up to             the        driver's              window              of        the     Buick.

   Bianchi               has        his         hand          on his         gun,            which          is     in       the        holster,                   as he

   runs       up to             the        Buick.               He then                 leans         down at               the        driver's                   side

   window               briefly            before              Stockley                 approaches                 and        leans            down at                  the

   driver's                window.                    One can           see        Bianchi's                 exhaled                  breath            in        the

   cold       air,             as     he approaches                         the         driver's             window,                  and      another

   large           exhale             of        his      breath             as     Bianchi              leans           down at                the       window.

   The view                   from        the         dash      cam is             over         the      top           of     the       Buick;               it

   cannot               be seen            what          is     occurring                    inside          the        car.            While            Stockley

   is     bent           over         at        the      driver's                window,              out        of     sight           of        the        dash

   cam,       it         appears                that         Stockley              is        wrestling                 with         something                     or

   someone               at     the        window              and      Bianchi               approaches                    again.                At one

   point           it     appears                Stockley's                  breath             blows            off        to    his        right            when

   he stands                  up;      his         breath             again             appears          to       blow           off        to     his        right

   as     he is           bent         down at                 the      driver's                window.                 Stockley's                      right

   elbow         can          be      seen            rising          up as             if    he is          unholstering                         his        gun,

   Bianchi               suddenly                backs          up,         and     it        appears             that           at     this            point

   Stockley               fires            into          the         car.          It        cannot          be determined                         from            the

   dash       cam video                    how far              Stockley's                    hand,          holding              the        gun,            is        from

   Smith         at       the        time          the         shots         are         fired,          or       precisely                  when each




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   shot      was fired.                 At the            time       the           shots            are      fired,           Stockley               is

   wearing           what,          on the         video,          appear                to     be winter                gloves.

             Antonio           French,             a witness               for           the        State,          said         he was on the

   second       floor          of     his      club        where          Mr.            French           and       a few others                     were

   cleaning           the      club         up for          the      next            event.               Mr.       French             testified

   he heard           a loud          crash,          he went             to        the         window          and        he saw two

   officers,           one      with          a firearm,                 approach                the         crashed             car.          Mr.

   French       saw an officer                      at     the       driver's                   door         and      heard            the     officer

   say,      "open       the         fucking          door,          open           the         fucking             door."              The

   officer       then          fired          shots        into          the        car.              Mr.     French             recorded                from

   the     second           floor      window             the      events                that         followed             the         shooting

   for     several           minutes,              and     his       cell           phone             video        was introduced                         as

   Exhibit           5 and      was played                 at      the         trial.                Mr.      French             said         the

   officer       fired          four         or     five         shots             all        together              in     sequence.                     He

   could       not     see      anything              inside             the        car.              Mr.     French             said         the

   officer       came up to                  the      door         and pulled                    on the             door         three         times

   without       the         door      opening             prior          to        the         shots         being           fired.

             Monte       Jodeh,             a witness              for        the         defense,              testified                 that           he

   was at       a store              across         the         street             from         the       scene          of      the         shooting

   (the      evidence           shows          he was across                        the         street          diagonally                    from        the

   scene).            Mr.      Jodeh         heard         a crash                 and        ran      to     the        door.            He

   testified           he saw two officers                               at        the        driver's              side         window             of



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   Smith's            car.             Jodeh        said        he saw and                 heard          struggling                 and

   murmuring,                    He could              not      see      into        the       car        because            the      airbags

   had been            deployed.                    Something              happened               that         startled            the

   officers,                and        then      he heard               four        or     five      shots            in     succession

   with         the    officer                firing           the      shots        stepping              back.             He said             there

   was no break                    between             the      shots.

                Police           Officer            Elijah           Simpson             testified              that         he was the

   first         officer,               other          than       Stockley               and      Bianchi,             to     respond             to

   the      scene           on December                  11,      2011.             Before         he arrived                 at      the        scene

   he had         observed                a police              vehicle             pursuing              a silver            car.           Simpson

   did      a U-turn               and        followed            the     pursuit.                 When the                other       two cars

   came to            a rest,             he parked               his     police            vehicle             and        approached              the

   scene.             Stockley                and      Bianchi           were        at     the      silver            vehicle             and

   airbags            in     the        silver           car      had     been           deployed.                Both        Bianchi             and

   Stockley            had         9 mm. Barettas                       drawn        when Simpson                     arrived,             but

   Simpson            did        not      see       or     hear         gunshots.                 Simpson             said       Stockley

   told      him to              "watch          his       hands"         and        Simpson's              belief            was that             the

   person         in       the      car        had       a gun,          but        he could             not     recall            whether

   anybody            specifically                     warned           him that            the      person            inside          the        car

   had     a gun.                Simpson            also        heard          Stockley            tell         the        driver·         of the

   car     to     "show           me your              hands."




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                John        Baumgartner,                    who is         currently                     a Richmond                 Heights

   police          officer,              testified                 he was a patrolman                                for      the        St.      Louis

   Police          Department                  in     December             2011.                  Baumgartner                 said        he arrived

   at     the      scene          several            minutes              after             the         shooting.                  He said         he

   recognized                several            officers                from          the         Sixth         District             who were

   present            but       he did          not         speak         with          any        officers                other         than      maybe

   to     ask      if      they         were        okay.              Stockley              did         not     provide             him with               any

   information                  after         Baumgartner                  arrived                 at     the        scene.              At some

   point          he was told                 there             was a gun               in        the     car        and      Sergeant             Rumpsa

   told      him to             recover             the         gun     from          the         car.          The gun             (a     .38

   Special)               had     been         "made            safe"      by removing                      the        cartridges                 from

   the     gun.            The car            had         already          been             searched             by another                    officer

   and      the         items      had        been          left        on the           passenger                   seat.           Baumgartner

   said         a bag        containing                   narcotics              was also                 recovered                 from        inside

   the      car.      7     Baumgartner                    said         there          are         two different                     jobs        involved

   at     that        point,            one     by a searching                          officer             who would                search           the

   car,         and       one by a seizing                         officer              who would                be told             what's           there

   and     who would               recover                it.

             Lieutenant                  Kirk         Deeken            testified                  that         in     December                2011      he

   was notified                   of     an officer                    involved              shooting.                     He viewed              the

   dash         cam video               and     briefly                spoke          with         the         Deputy         Commander,                 and


   7 Mr.  Smith's               DNA was on this                 bag,     and      the        contents           were       later     determined             to
   be heroin,

                                                                                  9
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    then        said        the         FBI should                 be        contacted               because               there        was the

    potential               for      a criminal                    investigation.                            Lieutenant                 Deeken             also

    testified               that         an officer                 is        trained              to     order            a suspect               out          of    a

    car     and        to     have        one's         firearm                out         in      case         the        suspect            is      armed.

    One re-holsters                       one's         gun when                    the      threat             is      over.

              Sergeant               Brian         King            testified                 he was             called           to     the        scene

    where          he photographed                      the         entire                area.           Sergeant               King         said         five

    shell          casings          were         recovered                    from         the       scene,             four       on the            ground

    and     one        on the            floorboard                 of        the        Buick.

              Doctor              Gershom          Norfleet,                   a medical                  examiner,                performed                 the

    autopsy            on Anthony                Smith.                 Dr.         Norfleet              testified                at     the        trial

    that      he       found        five         entrance                bullet              wounds            and         one     exit         wound:               1)

    the     left        lower            neck;         2)    left            chest;              3) mid          left          flank;           4)       left

    lower        flank;            5)     dorsal            left         forearm                  (entry);            and        6)     inside             left

    forearm            (exit).             The         cause            of     death            was       a combination                    of        the

    shots       to      the        lower         flank         and           chest,             one       of     which           went      through

    Smith's          heart,              and     internal                bleeding.                      Smith         did        not      die        from

   bleeding             out.            A toxicology                     report              indicated                that         at     the        time            of

   death        Smith          had        metabolites                    of     marijuana                  in        his       blood.              Dr.

   Norfleet             did        not     testify             as        to     the         order          of        the       wounds           and        he

   could        not         say     whether             Smith            was         reaching              for        anything             at        the

   time       he was           shot.             Dr.        Norfleet                 said         the      shots            to     Smith's            left



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    shoulder/lower                   neck,         left       chest,              left     mid         flank          and        lower         flank

     (which        was       "pretty             low")      all        had        the     same         trajectory.                     He said

    the     wound          on the          shoulder           would            not       have         caused          Smith's            death
    and     to     call       that         shot      a "kill             shot"           would         be wrong.

              Dr.      Norfleet             was asked              how Smith               got         a gunshot              wound            to     the
    lower         flank       if     he was sitting                      inside           the         car     and      was        shot         from

    the     outside.               Dr.      Norfleet              said         this       was not             inconsistent                     with
    Smith's          reaching              for     a gun          at     the       time         he was          shot.

              David         Menendez,              a supervisor                    at     the         firearm          lab,        testified

    that      he examined                  and     swabbed             the        .38     special             and      saw nothing

    that      was consistent                      with      blood            stains.

              Eric         Hall,       a biological                    screener            at     the         St.      Louis

   Metropolitan                Police             Department,                 testified                that         a DNA test                 and

   analysis           will         determine              what         DNA, if           any,          is     present            but      it        will
   not      determine              whether          the      DNA is               from     blood,             semen         or     something

   else.

             Mary Ann Kwiatkowski,                               a supervisor                    at     the         biology            section

   for      the      St.     Louis         Metropolitan                      Police        Department,                  was        called            as
   a witness               by the        State.            Ms.         Kwiatkowski                testified                 that         she

   examined           screws          on the             firearm             recovered            from         the      Buick            for
   blood.           A test           she     performed,                  a presumptive                      test,       indicated

   possible           blood,          however,             the         lab      does       not        perform           confirmatory



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    tests,           a presumptive                       test          can         produce          false             positives,               and       DNA

    testing           determines                    whether                 DNA is         present,                  but      DNA testing               does

    not      say      what             substance               the          DNA is         from.               Ms. Kwiatkowski

    testified               she         could           not         say      there         was blood                  on the           gun,      that      in

    2011        it    was rare                to        find          DNA on a gun,                      and         that      the       absence         of      a

    person's               DNA on a gun does                              not       mean         that          person          did       not     touch

    the      gun.           She         reiterated                   that       if        DNA is          not         found           on a gun,          all

    she      can      say         is     that           there          is     no DNA there,                          not      that       someone         did

    or    did        not        touch         the        gun.

              Dr.      Karen             Preiter,                   a DNA analyst                   at     the          St.      Louis

   Metropolitan                    crime            lab,            testified              that         DNA results                    from     the      gun

    are      consistent                  with        Jason             Stockley.                  Dr.      Preiter               further          said

   that       the      absence                of     a person's                    DNA does              not          mean that              person        did

   not       touch          the        gun,        but         it      only        means          there          was no DNA present.

   When DNA is                    found,           all         that         can      be     said          is     there           is      DNA present,

   not       who else              may have                touched              the        gun     or      how many times                       anyone

   touched            the         gun.

              Doug Halepaska,                            a firearms                  examiner              at         the      FBI laboratory

   division            in        Quantico,                 Virginia,                 testified                  at     the       trial         that      he

   received            materials                   to      be examined                     via     a Fed Ex package                            that      was

   delivered               in      2012.             Included                 in     the         package              was clothing                that

   Anthony            Smith            had      been          wearing              at     the      time          of his              death      as      well



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    as    a hand          gun.          He test           fired            the         handgun             and          examined              the

   clothing.                He concluded,                  based             on his               testing               of     the         jacket,

   that      the      bullet            hole      related               to       the        shot         to       the        top      left

    shoulder          of     the        jacket          was       from           six        inches            or        less         but      was not             a

   contact          shot.

             Defendant              Stockley              testified                    at    the         trial.                Defendant               is     a

   graduate           of     the        United          States             Military                Academy               at     West          Point,

   N.Y.,       and        he suffered                  injury          to     his           back         while           serving              in     the

   United          States          Army during                  the        January                2004        bombing                of     the

   Shaheen          Hotel          in    Baghdad,               Iraq.             He has             lingering                  problems               with

   his     sciatic           nerve.              Stockley              testified                   that           in     December                 2011      he

   was a certified                      field          training              officer               for        the        police

   department.

             Stockely              testified              the         weather               on December                      20,      2011         was wet

   and     "somewhat               cold.''             He was wearing                        a bullet                   proof         vest         under

   his     shirt,           the     pants         he was wearing                            did      not          have         cargo          pockets,

   and     he was wearing                       a three           inch        wide           duty          belt.               Stockley              said

   he was          also      wearing             his      personal                gloves             for          the        cold,          gloves

   which       were         needle           resistant                to     avoid           getting                stuck            by a sharp

   object.

             Stockley              testified              that         on December                       20,        2011,            his      partner

   was Brian              Bianchi            who was            six        months            off         probation.                        Their



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   assignment              was to          take       911 calls,                 and         to        proactively                 look         for

   drug      or     burglary              activity.                As they             were            driving          by the             Church's

   restaurant              they       observed              suspicious                 activity                and      decided             to

   investigate.                    Stockley           said         he had             never            seen      the        silver          Buick

   before,          they      were         not      looking             for      it         at     the        time,         they      did        not

   know either               person          involved              in      the        perceived                drug         transaction,

   and     they      initially               did      not         know either                    participant                 in      the

   perceived              transaction               was connected                      to        the      silver            Buick          at    the

   time      they         observed           the      transaction.

             Stockley              testified           that         he heard                 Bianchi             yell        "gun"          at     the

   time      Bianchi          broke          the      driver's                window             on the          Buick,            and

   Stockley          then          saw the          driver's             hand          on a gun                on the          passenger

   seat      as     the      Buick         drove       by him and                     was pulling                    away.

             Stockley              said      that      the         pursuit             was a high                    risk      situation

   during         which       he was             feeling           fear.              When asked                 about         the

   statement,              "kill          that      motherfucker"                      he could                not      remember                making

   the     statement.                 He said          he had            not      made             a decision                to      kill        Smith

   and     he could           not         recall       the         context             in        which         the      statement                was

   made.

             Stockley              testified           that         after             the        pursuit             ended         he exited

   the     police          vehicle           and      went         around             to     the         driver's            side          door.

   When he got               to     the      door,          the     airbag             which             had     deployed             was



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   lifted          up by Bianchi                      and      Stockley                said          he could              see      Smith

   reaching              around,          patting              around            with          his      right           hand.             Stockley

   told         Smith       to      "show        me your                hands"           repeatedly,                    but        Smith

   continued              reaching              around.                 Suddenly               Smith's              demeanor              changed,

   around          fifteen              seconds            after          Stockley               reached             the         driver's

   window,             when       Smith         reached             between              the         seats,          and         Stockley              said

   he thought               Smith         had         retrieved                 the      gun.           Stockley                 reached           for

   his      Baretta              (his     service              revolver)                 and         stepped          back          because              he

   was      scared          Smith         would            pull         up his           hand          and       shoot         him.          Stockley

   then         fired       several             shots          at       Smith,           which          ultimately                  resulted              in

   Smith's             death.            Stockley              said        he did              not      initially                  have      his

   Baretta             drawn       when         he got             to     the         driver's            window.

                Evidence           of     what         occurred                 following               the         shooting              was

   provided              through,           among           other          things,               the         cell       phone         video            taken

   by Mr.          French          from         the        second          story             window           overlooking                   the

   scene.              When the           cell         phone            video          first           starts,             Stockley               is     seen

   walking              from      the     driver's                 side         of     the       Buick           back         to    the      left

   rear         door      of      the     police            vehicle,                  where          he opens              the      door,          places

   his      AK-47         on the          rear         seat,            then          closes           the       door         and     walks            back

   to     the      driver's              side         of    the         Buick.               Another             officer            is      standing

   at     the      door         with      his         gun      drawn            and      aimed          into         the         Buick.

   Stockley              then      returns             to      the        police             vehicle,               removing              gloves



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   from         both         hands          while          approaching                       the         vehicle,                  and     he then

   climbs             in     and      reaches              across              the       rear            seat.         8      Stockley             testified

   he took             his         gloves           off         as     he returned                       to      the         police            vehicle

   because             he was going                       to     retrieve                Quick            Clot,              which         is     used      to

   stop         bleeding,                from        his         personal                bag         which            was on the                  back      seat

   of     the         police          vehicle,                  and        he said            it's            hard           to     feel         what      you're

   touching                with       the      gloves                 on.       Stockley                  then             exits         the      police

   vehicle             and         returns           to         the         driver's               side          of        the      Buick         and

   proceeds                to      walk       all         the        way around                    the        Buick              and     the      adjacent

   police             vehicle            where            he meets              with          Bianchi                  and         Sergeant          Rumpsa.

   Stockley                can      be      seen          on all             sides        while               walking               around         the      two

   vehicles.                    Stockley             does             not      have          a jacket                  on over             his     blue

   police             uniform             shirt.                There          is      no gun,                other              than      his     holstered

   service             revolver,               visible                 in      his       hands,               in       his        pockets          or      tucked

   into         his        belt,         and        there             is     no bulge                from          a gun            in     any     pocket.

   As other                officers            gather                 at     the       scene,             they             do not          appear          to    be

   wearing             gloves            as    they             approach               the         Buick           or        other         officers.

   After         conferring                   with         Bianchi                 and       Rumpsa,               Stockley                again         returns

   to     the         driver's              side          of     the         Buick           and         again             there         is      no gun in



   8 A video      recording      from inside     the police  vehicle    shows Stockley         was reaching
   across     the rear      seat   to a personal     bag, which he reaches        around    in, and then
   exits    the vehicle,          Stockley   does not have anything       in either      hand during     the
   brief    periods      his hands are in view on this         video,    immediately      before    he
   exits.       The video      does not show defendant      trying    to stealthily       recover    a
   revolver      and conceal       it on his person.

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    his     possession                 other           than          his       holstered                service             revolver.                  After

    Smith         is     removed            from         the         Buick,             Stockley             gets         in     on the

    driver's             side;         there           are          six      other          officers              visible               immediately

    adjacent             to     the       Buick,             and          initially              four        of     them         are      by the

    driver's             door         looking            in.              The evidence                  at    trial            was that

    Stockley             got     into           the      car         to      search          for        a weapon,                and      Stockley

    testified             that         he found                a handgun                 tucked          down between                     the        seat

    and     the        center          console.                 He rendered                     the      gun        safe        by unloading

    cartridges                from        the         cylinder,                and       then         left        the       gun      and

    cartridges                on the            passenger                  seat.            A demonstration                        at     the        trial

   of     how the             gun      was       unloaded                  showed           that        a person               would          hold        the

   gun     tightly              by its           grip          in     one         hand,         and      with         the       other           hand

   unlock          the        cylinder            and          remove              any      cartridges.

               No charges                 were         filed          by the             State          in    this          case        until          the

   Spring          of     2016,           and     no federal                       charges           have         been         filed.

               The       key     issues           in      this             case       are       whether             the        shooting              of

   Anthony             Smith        was      an intentional                           killing            following                 deliberation

   by Stockley,                  or       whether              the         shooting             of      Smith         was       a lawful               use

   of     deadly          force           by a police                      officer           who was              reasonably                  acting         in

   self-defense.                      All        of     the          witnesses               who testified                      at      the      trial,

   other        than          defendant                Stockley               and        Monte          Jodeh,          were         called            as

   witnesses              for       the      State.



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             A criminal                    defendant                 is     presumed               innocent           and        the        State           has

   the      burden         to        prove          a defendant                    guilty           beyond          a reasonable

   doubt.           State            v.     Henton,               753       S.W.2d           19,      20         (Mo.App.E.D.                  1988).

   Due process                 requires                the        State           to    prove         every         element             of       a crime

   beyond          a reasonable                     doubt.                State         v.        Neal,       328 S.W.3d                374,          378

    (Mo.App.W.D.                2010).                 Proof          beyond            a reasonable                 doubt             is      proof

   that      leaves            the         finder            of      fact         "firmly            convinced             of     the

   defendant's                 guilt."                 See,          MAI-Cr            4 th 402.04.                 The burden                 on the

   State       to    prove            a criminal                     defendant's                   guilt         beyond          a reasonable

   doubt       applies               to     every            criminal              defendant                in     every         case.

             The version                    of      the        statute             on first                degree         murder            that       was

   in     effect          in    December                  2011        provided               that          "a person             commits             the

   crime       of murder                  in     the         first          degree           if     he      knowingly             causes             the

   death       of    another                person            after          deliberation                    upon         the     matter."

   § 565.020.1                 RSMo. 2000.                        Therefore,                 the      three         elements                of      first

   degree          murder            are:        (1)         knowingly;                 (2)        causing          the         death          of

   another          person;               and       (3)       after          deliberation                    upon         the     matter.

   "Deliberation"                     is       defined               as     "cool        reflection                 for         any     length              of

   time      no matter                how brief."                         § 565.002(3).                      "Like         any         state         of

   mind,      deliberation                       generally                  must        be proved                through          the

   surrounding                 circumstances                         of     the        crime."              State         v.     Ferguson,                  20

   S.W.3d          485,        497         (Mo.bane               2000).



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             The defendant                        has        the         burden           of      injecting               the        issue           of

   self-defense.                        § 563.031.5                      RSMo 2016.                   However,                the      defendant

   does      not         have        the         burden             of    proof           on the         issue            of        self-defense.

   State       v.       Morley,              748       S.W.2d             66,       68         (Mo.App.S.D.                   1988).              It        does

   not      matter             which         side           presents               the      evidence               that         supports                the

   issue       of        self-defense.                         State           v.        Fincher,            655        S.W.2d            54,          58

    (Mo.App.W.D.                    1983).             If      there           is        evidence            to     support               self-

   defense,              the        State         has        the         burden           of      disproving                  the      defense

   beyond          a reasonable                       doubt.              State           v.      Watson,           839         S.W.2d            611,         615

    (Mo.App.E.D.                    1992).

             A law             enforcement                   officer               need        not      retreat               or     desist             from

   efforts           to        arrest            or    prevent              the          escape         of    a person                 the        officer

   believes              to     have         committed                   an offense.                   A law            enforcement

   officer           is        entitled               to     use         deadly           force        where            the         officer

   reasonably                  believes               the      use        of       deadly            force         is     necessary                  to

   effect          the         arrest            and        reasonably                   believes            the        person            is

   attempting                  to    escape            by the             use       of      a deadly               weapon            or      may

   otherwise              endanger                life         or        inflict            serious           physical                 injury.

   § 563.046              RSMo 2000.

             The         State          contends               it        has       met      its       burden            of      proof           as      to

   murder          in     the        first            degree             because            the       statement                 made         by officer

   Stockley              during            the        pursuit             that           ''we're        killing               this



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   motherfucker"                    was       followed                  by Stockley               shooting               Smith           while

   Smith           was seated                in     his      car.             The State               contends                Stockley's

    statement               during           the     pursuit                 proves           Stockley            intended               to      kill

   Smith           and      that        he deliberated                        about           doing        so,        prior         to      shooting

   Smith           when the             pursuit            ended.               The State              argued            that           Stockley

   initially                fired        four           shots           at    Smith,           who the            State            contends             was

   not       in      possession               of     a firearm                  in      the     car,        and         then        after         a gap

   in       time      fired         a fifth               shot          at    close           range        into         Smith's             lower

   neck/shoulder.                        The prosecutor                         referred              to    this         fifth           shot        as    a

    "kill          shot"         that        was fired                  because          the      first           four         shots           did      not

   kill           Smith.           The       State         argued             that       a "puff            of        smoke"            seen      on the

   dash           cam video             came        from          the        "kill       shot"         and        supports               the

   State's            theory            of    a fifth              shot         separated              in        time         from       the      first

   four           shots.           The       State         claims             Stockley            did       not         act        in    self-

   defense            because            Smith            was not             in      possession                 of     a firearm,                and

   the       firearm             found        in     the          car        was planted               by Stockley.

                  The Court             believes             it         is    significant                  that         defendant

   Stockley                and     Smith          did      not          know each              other        prior             to    December              20,

   2011,           they      had        no prior             history,                 there       was no history                         between

   Stockley                and members               of      Smith's                 family,          and        there         was no basis

   in       the      evidence            to        suggest              any     pre-existing                     animosity               by




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   Stockley            towards          Smith.          9     There        was also              no evidence              that

   Stockley            even      knew who was being                            pursued.

              Commencing             in     the       parking            lot        of     the      Church's            restaurant,

   when Anthony                Smith        rammed             into      the        police          vehicle           twice,         and

   then       struck          Stockley's              arm with               the     car         while      fleeing,             officers

   Bianchi        and         Stockley           were          involved             in     a dangerous                high       speed

   pursuit.             It     is    apparent                from      the         dash      cam audio             and       video       that

   the     pursuit           was     stressful                both       from        the         high     speed         nature         of    the

   pursuit        and         from      confusion                 caused        by the            multiple            radios         and

   communications                   with        a dispatcher.                       People          say     all       kinds       of

   things        in     the      heat       of     the        moment           or    while          in    stressful

   situations,                and    whether                Stockley's              statement             that        "we're         killing

   this       motherfucker,"                    which          can     be ambiguous                     depending            on the

   context,            constituted                a real           threat           of     action         or      was    a means            of

   releasing            tension            has     to        be    judged           by his          subsequent               conduct.

              The Court             does        not         believe          Stockley's                 conduct         immediately

   following            the      end       of     the        pursuit           is    consistent                with      the      conduct

   of     a person            intentionally                    killing             another          person         unlawfully.              10




   9  The defense      wanted   to introduce         evidence      that   Anthony Smith had an
   outstanding      parole    violation       warrant     and a felony        record.        However,    the Court
   ruled    that   such evidence        is not relevant         and can be given           no weight     as the
   defendant     did not know Mr. Smith and he had no knowledge                           of any criminal
   history     at the time of the relevant              events      here.
   10 The Court      also believes        the dangerous,         highly    stressful        and frenetic     events
   during     and immediately        following      the pursuit        and shooting        on December 20,
   2011, are the antithesis             of "cool"      anything,       much less      reflection.

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   Stockley            did      not         approach             the     Buick           and         immediately                   shoot            Smith

   multiple            times.               Stockley             had     been           warned             by Bianchi                  that         Smith

   had      a gun.             Stockley              approached                 the      driver's                 side,           appeared            to

   attempt          to     open         the     door         and,        as      testified                   to      by the            State's             own

   witnesses,              ordered             Smith         to        open      the          door         and       to      show his               hands.

   Stockley            also        warned            another            officer               to     "watch            his        hands.''             It

   was not          until          fifteen            seconds            after           Stockley                 arrived              at     the

   driver's            side        door,        that         he unholstered                          his        service            revolver                and

   fired        several            shots        in         succession.

              The Court               finds          the      State's                contention                 there         was a fifth

   ''kill       shot"          fired          by Stockley                    after       a gap             in     time,           is     not

   supported              by the            evidence.                  No witness                   testified                to    hearing             a

   shot       separated                in     time         from        the      first          group            of     successive                   shots,

   Antonio          French,             a fact             witness            for       the         State,           testified                that          the

   gun      shots         were         in     rapid         succession                  and         that        one       shot         was not

   separated              in    time          from         the     other             shots.            There           was also                no

   evidence              regarding             the         order        in      which              Smith's           wounds             were

   inflicted.                  The Court              finds            the      State's               reliance               on a "puff                   of

   smoke"        as       evidence             of     a fifth                shot       separated                 in      time          from        the

   others        is       not      supported                by the            evidence.                    There          was no puff                     of

    smoke       from         any       of     the     other            shots,           and         there         was no testimony

   that       firing           a service              revolver                would           or      could          cause             such      a puff



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    of     smoke.             There       was also                no explanation                           offered             for     why such                   a

    "puff      of       smoke"           would         be     seen         outside              the         car      if        such       a fifth

    shot     was        fired         with       the         gun     inside              the         car     as      the        State

   contends.                  It     seems       more         reasonable                  to         conclude              that        what           the

    State      characterizes                     as     a "puff               of        smoke"         was         in      reality             exhaled

   breath          in    cold         air.            Puffs        of      smoke          are         seen         multiple               times             on

   the      dash        cam video               unrelated                to     the       firing             of      any        gun,        but

   coming          from        the       mouths         of        officers               in     the         cold        air.

             The        State         made much of                   the        fact          that          Stockley              was       in

   possession                 of     an AK-47 pistol                       on December                      20,      2011.             Stockley

   admitted             he was in               possession                 of      such         a weapon,                 he testified                       he

   knew his             possession               of     such         a weapon                 was      in      violation                  of

   department                 policy,           but     he        said        he had            it     with          him to            use        as    a

   deterrent             in        situations                in    which           he         (and     other            officers)                might

   be facing             persons               armed        with         more         dangerous                weapons               than         a

   Baretta          service              revolver.                 There           is     no evidence                     he ever              fired

   this      weapon,               and    while         Stockley's                   possession                    of     the        gun might                   be

   a matter             for        departmental                   discipline,                   it     is      not         relevant               to        the

   criminal             charges           here.

             The defense                  does         not        deny        that        Stockley                 shot         and       killed

   Smith.           Rather,              the     defense             contends                 Stockley               acted           in     self-

   defense          and        that       Stockley's                 use        of       deadly             force,          as       a police



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   officer,            was        justified                 because            Smith          was        armed          with        a handgun,

   had      demonstrated                      that         he was        a danger              to        other          persons            by the

   manner         in    which            he        fled       from       the      police             at       high        speed,           and

   Stockley            did        not         shoot         Smith        until          Smith            reached            for      his        gun.

              Section             563.061             RSMo Supp.                 2010,         the        statute              in    effect              in

   December            2011        which             governed            the      defense                of     self-defense,

   provided            that        a person                 could        use      physical                force           upon       another

   person         "when           and         to     the      extent           he or          she        reasonably                 believes

   such       force         to     be         necessary             to    defend              himself              or     herself           or       a

   third         person           from         what         he or        she         reasonably                 believes             to     be the

   use      or    imminent               use         of     unlawful             force         by        such        other          person."

   Subsection                2 of        the         statute           provided               that        a person                could         not       use

   deadly         force           upon         another           person           unless             he       or     she       reasonably

   believed            that        such            deadly        force           was       necessary                 to     protect             himself

   or      herself           "against                death,          serious            physical                injury,             or     any

   forcible            felony."

              A fact          issue            that         is   central               here         is    whether              Smith        was          in

   possession                of    a firearm                  inside           the      car         at    the        time         he was         shot.

   The      State       contends                   Anthony           Smith           was      not        in     possession                 of    a

   firearm           inside             the        silver        Buick           and       that          Stockley              planted           the

   firearm           that         was         recovered              from        the       Buick.




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                 Stockley              testified                 that          Bianchi             warned            him of              a gun        in     the

    Buick         at     the         Church's              restaurant,                      and       that          he observed                     a gun in

    Smith's             hand         as     the      Buick             drove          past         him.             Stockley               testified              he

    did     not         draw         his      service                 revolver              and       fire          until          after            he saw

    Smith         reaching                 around          inside              the     car         and        then          change            his

    demeanor             suggesting                  to         Stockley              that         Smith            found          the        gun.          A

    handgun             was found                 inside          the          Buick         after            the      shooting.

                 The Court                 finds      the             State's          contention                    that          Stockley

   planted             the         handgun           found             in      the     Buick            is     not          supported                by the

    evidence.            11         The gun was a full                               size         revolver              and        not        a small

    gun,         such         as     a derringer,                      that          can     fit        in     the      palm             of    one's         hand

    or     into         the        side      pocket              on a pair                  of     pants            without           being

    obvious.                  Stockley             was not               wearing             a jacket;                 if         he had            such     a

    gun in         his         possession                  it     would              have        been         visible              on the            cell

   phone          video.              The gun was too                           large            to     fit         entirely              within            any

    of     the     pockets                 on the          pants              he was wearing,                        there          was no bulge

    in     any     pocket              indicating                 a gun within                        the      pocket,              and        the         gun

   would          have         been         visible              if      it     was tucked                    into          his     belt.             There


   11  Mr, Taylor,                 Mr, Smith's      companion      when he arrived        at the Church's
   restaurant      and               who has a felony        drug conviction,        from Pike County,       Missouri,
   and a fifteen                   year    (15) sentence,       with execution       of the sentence      suspended,
   testified     that                he did not see Smith with a handgun                and he did not know there
   was heroin      in              the car.      The Court finds         Taylor's    testimony     has no probative
   value     and was               not credible.        Taylor     was impeached       with his own deposition
   testimony     that                he did not recall         anything     about that     day, and he was
   impeached     with                several   inconsistencies          between   his trial     and deposition
   testimonies,

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    were      several             officers              standing             around              adjacent               to      the       driver's

    side      of      the        Buick        and       not     one        of        them        was        called           to       testify           that

    they      saw Stockley                    plant          a gun         in        the     Buick.               The        State's

    argument           that         the      presence               of     Stockley's                  DNA and               the       absence           of

    Smith's           DNA on the                 gun proves                the          gun was             not      in      Smith's

    possession              but        must       have        belonged                to     and       been          planted              by

    Stockley           is        refuted          by the            State's              own witnesses.                            Mary Ann

    Kwiatkowski                  and      Dr.     Karen         Preiter               both        testified                  that         the

    absence           of    a person's                  DNA on a gun does                             not     mean           that         person         did

   not       touch         the      gun.

              Finally,              the      Court           observes,                based           on its           nearly             thirty

   years        on the            bench,          that        an urban                heroin           dealer             not       in

   possession               of      a firearm                would        be an anomaly.

              The      State           further            contends                Stockley             did        not        act       in       self-

   defense           because              Officer            Bianchi              did      not        perceive               Smith          to     be a

   threat.             Brian           Bianchi,              defendant's                   partner            on December                       20,

   2011,        did        not     testify              at    the        trial.              At the           time           of     the

    shooting,              Bianchi           was an inexperienced                                 police             officer.                  To draw

   compelling               inferences                  from        Bianchi's                actions              or      inactions                is    not

   a reliable               endeavor,                  and    would          amount              to    mere          speculation.

   Officer           Bianchi              only         holstered             his         revolver             on the               Church's

   restaurant               parking              lot      when       Smith            drove           away        at      high         speed.



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   Stockley          testified                  Bianchi          warned                  him      on the              Church's                    parking

   lot     about          a gun.            The        Court          does            not       believe               one         can         draw             any

   inferences              regarding               Bianchi's                     state          of      mind          from            Bianchi's

   actions          at     the      side          of     the         Buick            prior          to        the         shooting.                      It     is

   worth       noting            that       Stockley                 did         not      perceive                   Smith            to      be     an

   imminent          threat              while         he was              initially                  interacting                      with          Smith

   through          the        driver's            window             after              the      pursuit,                  but        only          after

   fifteen          seconds              had      passed             during              which          Smith             was         ordered              to

   show      his     hands          and         open      the         door,              and      only          when          Stockley

   believed           Smith         had         located              the         gun.

             The      State             further          argues             that            Stockley                 removed                his      gloves

   when      he     returned               to     the     police                 vehicle             with            the      purpose                of

   providing              an explanation                       for         his         DNA being                on the                handgun

   recovered              from          Smith's          vehicle.                      The      gloves               he     removed                 were

   winter          gloves,              Stockley's              explanation                       for          removing                 the         gloves            is

   plausible,              other           officers             at         the         scene           either              did        not          have

   winter          gloves          or      had     removed                 them          prior            to    exiting                    their

   vehicles,              and      it      makes         sense             that          a person               would             remove              winter

   gloves          when        searching                for     something                      inside            a personal                        bag.          Here

    Stockley             was     searching               inside              his         personal                bag,            and        he testified

   he was          searching               for     Quick             Clot.               In      the       absence                of         any      evidenc$

    showing         Stockley               in     possession                     of      the         gun       prior             to        his      entering



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    the       Buick          to       search,          this          contention                  regarding                   the         gloves         makes

   no sense.

                One obvious                    question              the      State           made          no attempt                    to     answer

   was how Anthony                            Smith         could          have       been         shot           in     the        left         lower

   abdomen             by a person                    standing               outside             the        car        if      Smith            was      simply

    sitting            in       the       driver's             seat.              Dr.       Norfleet,                  who conducted                         the

   autopsy,               testified                 that       the      wounds              in     Smith's                  left         flank        could

    indicate              that          Smith         was      reaching               for        something                   to     his         right         at

   the       time         the         wounds          occurred.                This           would          be consistent                         with

    Stockley's                  testimony                 regarding               Smith's              actions               immediately                     prior

   to     the        shooting.

                No one            promised             a rose           garden,               and       this           surely             is     not         one.

   Missouri               law         requires              that       the     trier             of     fact           be      "firmly

   convinced"                   of      the        defendant's                guilt           in       order           to      convict.                 As

    stated           above,             the        burden          on the          State           to       prove            a criminal

   defendant's                    guilt            beyond          a reasonable                    doubt           applies                to     every

   criminal               defendant.                   The         requirement                   that        the            State         meet         its

   burden            of     proof             is    not      a mere           "technicality"                           and         the      instant

   case         is     not        decided             on a technicality.

                This        Court,             as     the      trier          of      fact,            is    simply                not         firmly

    convinced                of       defendant's                  guilt.           Agonizingly,                            this         Court        has

   poured            over         the         evidence             again          and       again.                This         Court            has     viewed



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    the      video         evidence                from       the      restaurant's                         surveillance                   camera,

    the      cameras             in     the        police          vehicle,               and         the         cell      phone          video            by

    the      lay     witness,                 over         and      over        again           - innumerable                      times.

              This         Court,             in     conscience,                  cannot              say         that      the         State         has

   proven          every          element             of murder                 beyond            a reasonable                     doubt             or     that

    the      State         has         proven         beyond           a reasonable                         doubt         that          defendant

   did       not     act         in     self-defense.

              The State                 asked         the        Court          to      consider,                  should          it      find

   defendant               not         guilty         of      first          degree          murder,                   whether           defendant

    is    guilty           of     a lesser                 degree          of     homicide.                       The defense                  did        not

   ask       the     Court             to    consider              lesser              offenses.

              The       lesser              degree          offenses              of      first          degree             murder             are

    listed         in§           565.025             RSMo.            This        Court           has        found          that         the         State

   did       not     prove            beyond          a reasonable                      doubt          that            Stockley           did         not

   act       in    self-defense.                           The issue              is      whether                 a finding              that         the

   defendant               was not                guilty         of    an intentional                             killing          based             on the

   defense           of     self-defense                      forecloses                  the         possibility                  of     a

   conviction               of         a lesser             degree           of      homicide.

              The Missouri                        Supreme          Court          has      held          that            self-defense                     in     a

   homicide             does          not         foreclose            a conviction                         for        involuntary

   manslaughter                   if        the      defendant               was entitled                         to     use      force         while

   acting          in      self-defense,                     but       exceeded                 the      scope            of     the       self-



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    defense           privilege           by using          an unreasonable                   amount        of    force.

    This      is      because         an intentional                act     of     self-defense               may

    constitute            reckless            conduct          if   the     force        used        was unreasonable.

    State        v.    Beeler,          12 S.W.3d           294     (Mo.bane            2000);        State       v.     Pulley,

    356 S.W.3d            187         (Mo.App.E.D.             2012).        Given           that     the     State           here

    has     failed        to      prove       beyond        a reasonable                doubt        that     defendant's

    use     of     deadly         force       was not          justified           in    self-defense,                  the         Court

    need      not      address          lesser         degrees       of     homicide            including

    involuntary               manslaughter.

              WHEREFORE, it                  is     ordered,        adjudged            and     decreed          that         the

    State        has     failed         in    its     burden        of     proof        and     the     Court       finds            that

    defendant            is     not     guilty         of   both     charges            in    this      case,       murder

    first        degree         and     armed        criminal        action.




                                                                         SO ORDERED:




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